08-12667-mew          Doc 106         Filed 06/10/10 Entered 06/10/10 16:45:07              Main Document
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
    - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - -X
    In re:

    Boaz Bagbag,                                                       Chapter 7
                        Debtor                                         Case No.: 08-12667 (AJG)

    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X


                                         CERTIFICATE OF SERVICE

          I, Anatin Rouzeau, hereby certify that I am an employee of the United States
    Bankruptcy Court, Southern District of New York and a disinterested party to this matter.

           I further certify that on June 10, 2010, true and correct copies of the Judgment
    were served upon:

    Boaz Bagbag
    304 East 78th Street, Apt. 5F
    New York, NY 10021

            at the above-listed addresses designated for that purpose by enclosing true copies
    of same in first-class post-paid properly addressed envelopes and depositing same into an
    official depository under the exclusive care and custody of the United States Postal
    Service within the State of New York.

    Dated: June 10, 2010
    New York, New York

                                                                /s/ Anatin Rouzeau
                                                                    Deputy Clerk
